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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )            8:08CR61
                     Plaintiff,                   )
                                                  )
       vs.                                        )              ORDER
                                                  )
RICHARD RIDPATH,                                  )
JOHN JANTZON and                                  )
AGUSTIN RIOS,                                     )
                                                  )
                     Defendants.                  )


       This matter is before the court on the motion for an extension of time by defendants
Richard Ridpath (Ridpath) (Filing No. 32) and Agustin Rios (Rios) (Filing No. 27). Both
defendants have filed motions to compel discovery (Filing Nos. 29 and 27) and seek an
additional thirty days in which to file pretrial motions following the ruling on their motions
to compel. The motions for an extension of time are granted to the extent that the pretrial
motion deadline will be suspended pending the determination of defendants' motions to
compel. The court will establish a new pretrial deadline in the order ruling on the pending
motions to compel.
       IT IS SO ORDERED.
       DATED this 29th day of May, 2008.
                                                  BY THE COURT:
                                                  s/Thomas D. Thalken
                                                  United States Magistrate Judge
